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            AFFIDAVIT OF TASK FORCE OFFICER SCOTT ALICEA-BAILEY
               I, Task Force Officer (“TFO”) Scott Alicea-Bailey, being duly sworn, hereby

depose and state under oath:

                               Introduction and Agent Background

       1.       I have been employed by the Southbridge Police Department for over 20 years,

where I have served as a Detective for the past 14 years. I am a graduate of the full-time

Municipal Police Academy in Boylston, Massachusetts. In addition to this training and the

annual in-service training that I attend, I have received approximately 600 hours of specialized

training in drug enforcement sponsored at both the municipal and federal levels, to include a

two-week Basic Narcotics course sponsored by the Massachusetts Criminal Justice Training

Council.

       2.      In March 2015, I was assigned as a Task Force Officer (TFO) to the Tactical

Diversion Squad (TDS) of the Drug Enforcement Agency (DEA) stationed in Worcester,

Massachusetts. The primary mission of TDS is the enforcement laws prohibiting the trafficking

of diverted pharmaceutical drugs and chemicals. As a DEA TFO, I am a “federal law

enforcement officer” within the meaning of Federal Rule of Criminal Procedure 41(a)(2)(C), that

is, a government agent engaged in enforcing the criminal laws and duly authorized by the

Attorney General

       3.      I have participated in numerous federal drug trafficking investigations of

individuals engaged in the illegal distribution of controlled dangerous substances. In addition, I

have been involved in the execution of numerous search and seizure warrants, made arrests for

violations of state and federal laws, and authored supporting affidavits. Furthermore, I have

participated in the investigation of numerous drug trafficking conspiracies and cases involving

the use of court authorized disclosure of location data relating to cellular telephones.
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        4.      In connection with my work as a TFO with the DEA, I have worked with federal,

state, and local law enforcement officers in the District of Massachusetts. These diverse

personnel provide the DEA with an extensive breadth of experience and knowledge about illegal

drug trafficking in the District of Massachusetts and elsewhere, in violation of Title 21, United

States Code, Sections 841(a)(1), 843(b), and 846.

        5.      I am familiar with the manner in which narcotics traffickers use vehicle to

transport and distribute narcotics and the proceeds of narcotics trafficking. From my training and

experience, I am aware that drug traffickers often transport drugs and drug proceeds in motor

vehicles, and that drug traffickers often use motor vehicles to meet with coconspirators,

including their sources of supply and/or their drug customers. Experienced drug traffickers will

often engage in counter-surveillance maneuvers while driving a vehicle in an attempt both to

determine whether they are being followed by law enforcement and to disrupt any surveillance

activities being conducted by law enforcement.

        7.      More broadly, based upon my training and experience, tracking drug traffickers in

motor vehicles frequently leads to evidence of narcotics and money laundering offenses,

including but not limited to (a) identification of potential criminal associates, such as criminal

coconspirators, suppliers of illegal narcotics, and money launderers; (b) identification of physical

locations at which illegal drugs are offloaded, stored, and/or distributed, including residences,

businesses, commercial storage facilities, warehouses, and ports; (c) identification of locations

where drug proceeds are stored, deposited, concealed, used in monetary and financial

transactions, and laundered, including private businesses, banks, wire-remitter businesses, and

other financial institutions.
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                                     PURPOSE OF AFFIDAVIT

       8.      I submit this affidavit in support of applications pursuant to Federal Rule of

Criminal Procedure 41 for four warrants authorizing the search of: (1) Apartment #2R, i.e. the

second floor rear apartment, at 104 Ridge Street, Providence, Rhode Island (the “Subject

Premises”); (2) the blue 2023 Nissan Murano bearing Rhode Island registration GO571 and

Vehicle Identification Number 5N1AZ2CSXPC123179 (the “Subject Vehicle”); (3) the person of

Brandon JONES (born 1988); and (4) the person of Adria MELLO (born 1991). The locations to

be searched are more fully described in Attachments A-1, A-2, A-3 and A-4, respectively.

       9.      As described herein, there is probable cause to believe that the Subject Premises,

the Subject Vehicle, and the persons of JONES and MELLO will contain: evidence of a crime;

contraband, fruits of crime, or other items illegally possessed; and property designed for use,

intended for use, or used in committing a crime, namely possession with intent to distribute, and

distribute, controlled substances, in violation of 21 U.S.C. § 841(a) and conspiracy to do the same,

in violation of 21 U.S.C. § 846 (collectively the “Subject Offenses”).

       10.     The items to be searched for and seized are described in more detail in Attachment

B, and specifically include evidence maintained in electronic format on a mobile telephone found

in the Subject Premises, the Subject Vehicle, or on the persons of JONES or MELLO. The

methods by which any mobile telephones will be searched are more fully set forth in the “Seizure

of Cell Phones” section of this affidavit. The items to be seized constitute evidence, contraband,

or fruits of the Subject Offenses.

       11.     The statements in this affidavit are based upon my investigation as well as

information provided by other law enforcement officers. Since I submit this affidavit for the

limited purpose of securing the requested warrants, I have not included every fact known to me
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concerning this investigation but, instead, have set forth only those facts that I believe are

necessary to establish the required probable cause for issuance of the requested warrants.

                         FACTS ESTABLISHING PROBABLE CAUSE

                            Oxycodone Sales to the Undercover Officer

         1.     Initiation of the Investigation and Observations of JONES’s Activity

         12.    During the course of this investigation, agents1 have learned that JONES and

others, both known and unknown, have established an Oxycodone and cocaine drug trafficking

organization in and around Worcester, Massachusetts, and have distributed significant quantities

of Oxycodone and cocaine in that area since January 2020.

         13.    In July 2022, I, along with Southbridge Police detectives, spoke with a

confidential source (the “CS”)2 regarding drug trafficking activities of a male subject the CS

knew as “Skip.” During subsequent investigation, “Skip” was positively identified as JONES.

According to the CS, JONES resides in Providence and distributes Oxycodone and cocaine in the

Worcester area. The CS advised that, on a daily basis, JONES travels to Worcester in rental

vehicles, sells his product in that area throughout the afternoon, and then returns to his residence

in Providence. The CS stated that JONES frequently changes rental vehicles but has utilized the

same cellphone number –                -7120 – for the past few years. According to the CS, JONES

was driving a newer model red Ford Escape at that time.




                                  
1
 Unless otherwise specified, the term “agents” refers generally to DEA Special Agents, DEA Task Force
Officers, and other state and local law enforcement officers participating in this investigation.
2
  The CS was previously arrested for possession of controlled substances. The CS has not yet been
charged for that possession and has agreed to cooperate in this investigation in hopes of avoiding criminal
charges for that conduct. To date, the information provided by the CS has been corroborated by agents
through surveillance and has proven accurate.
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          14.    On July 17, 2022, agents established surveillance in the area of Park Avenue in

Worcester and observed JONES operating a rented 2022 red Ford Escape.3 JONES met with

multiple people in the Park Avenue area. In general, these meetings consisted of JONES parking

on the street or in a parking lot, unknown subjects exiting from nearby vehicles, and either

approaching the driver side window of the rental vehicle or entering the passenger side of

JONES’s vehicle. The meetings lasted less than a minute, and the unknown subjects would walk

away from JONES’ vehicle, returning to their vehicle and leaving the area. Agents observed

approximately five of these short interactions within a thirty-minute period.

          15.    One such interaction involved a male later identified as “K.K.”4 JONES parked

his vehicle on Abbot Street. Agents observed K.K. arrive in the area, exit his vehicle, and enter

JONES’s vehicle. After a short period, K.K. exited JONES’ vehicle, re-entered his vehicle and

then drove from the area. Agents followed and stopped K.K., who admitted that he had just

purchased approximately 26 grams of suspected cocaine from JONES on Abbot Street.

          B.     September 14, 2022, Oxycodone Sale to the Undercover Officer

          16.    On or about September 14, 2022, a Southbridge, Massachusetts Police Detective,

acting in an undercover capacity (the “UC”), contacted JONES at phone number                      -7120

and arranged for the purchase of $700 worth of Oxycodone pills.

          20.    On September 14, 2022, agents met with the UC and provided him with $700 for

the purchase. Agents observed a rented white Nissan Altima5 parked in the driveway of


                              
3
 The Ford Escape is owned by PV Holding Corp, d/b/a Avis Car Rental (“Avis”) and was rented by
Adria MELLO, who lives at the Subject Premises and is believed to be JONES’s girlfriend.
4
 I am aware of “K.K.’s” full identity and date of birth. According to K.K.’s Massachusetts criminal
history, in 2021, K.K. was charged with possession of cocaine. K.K. admitted sufficient facts and the
matter was continued without a finding.
5
    MELLO rented the Nissan Altima from Avis on or about August 31, 2022.
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JONES’s residence at 104 Ridge Street. The Altima exited the driveway of 104 Ridge Street at

approximately 12:19 pm but agents were unable to maintain constant surveillance.

          21.    Jones directed the UC to meet him at Winfield Street in Worcester. Shortly after

the UC’s arrival, agents observed JONES’s Nissan Altima arrive on Winfield Street and park

near the UC. The UC entered the Nissan’s front passenger seat and exchanged $700 for 23

suspected Oxycodone pills. The UC exited the Nissan, re-entered his vehicle and drove directly

to a meet location where he provided me with the suspected Oxycodone pills. Agents later field-

tested two of the 23 pills, with a positive result for the presence of oxycodone.

          C.     October 05, 2022, Oxycodone Sale to the UC

          22.    On or about October 5, 2022, the UC contacted JONES at (508) 410-7120 and

arranged for the purchase of $1,000 worth of Oxycodone pills.

          23.    On October 5, 2022, agents met with the UC and provided him with $1,000 for

the purchase. Agents observed a rented blue Nissan Altima6 parked in the driveway of 104

Ridge Street. At approximately 11:54 am, JONES exited 104 Ridge Street, entered the Nissan,

and drove from the area.

          24.    At approximately 1:58 pm, the UC proceeded to Winfield Street, Worcester, as

directed by JONES. At approximately 2:41 pm, JONES contacted the UC and re-directed the

UC to the Walmart on Tobias Boland Way. At approximately 4:11pm, surveillance observed

the Nissan enter the Walmart parking lot and park near the UC vehicle. The UC entered the rear

seat of JONES’s vehicle.7 An unidentified male also entered the rear seat of JONES’s vehicle

shortly after the UC entered.


                                
6
    MELLO rented the Nissan Altima from Avis on or about September 21, 2022.
7
 The UC carried a recording device; however, that device malfunctioned and no recording of the meeting
was obtained
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         25.     According to the UC, after he entered JONES’s car, he and JONES exchanged the

$1,000 for 32 Oxycodone pills. The unidentified male then gave an unknown amount of

currency to JONES for Oxycodone pills. The UC exited the Nissan, re-entered his vehicle and

drove directly to a meet location where he provided me with the 32 suspected Oxycodone pills.

Two of the pills were later field-tested with a positive result for the presence of oxycodone.

         C.      November 22, 2022, Oxycodone Sale to the UC

         26.     On or about November 22, 2022, the UC again contacted JONES at (508) 410-

7120 and arranged for the purchase of Oxycodone pills.

         27.     On November 22, 2022, agents met with the UC and provided him with $1,500

for the purchase. Agents observed a rented Kia K5 bearing MA Reg 3GNJ778 parked in the

driveway of 104 Ridge Street. At approximately 9:02 am, a female with a small child exited the

area of 104 Ridge Street, entered the Kia, and left the area. At approximately 12:38 pm, the Kia

returned to 104 Ridge Street and parked in the driveway. A female, believed to be MELLO,

exited the car and entered 104 Ridge Street through a first-floor door on the right side of the

building.

         29.     At approximately 1:00pm, surveillance observed the Kia K5, operated by a male

later confirmed to be JONES, exited the driveway and leave the area. Agents were unable to

maintain constant surveillance due to JONES’s driving habits, including excessive speeding and

unannounced lane changes.

         30.     At approximately 1:45 pm, agents located the Kia in Massachusetts near the

Millbury Street exit off Route 146. JONES drove to Whipple Street in Worcester and parked on

the side of the road. Agents observed a small red vehicle occupied by an unidentified male also


                                 
8
    Mello rented the Kia K5 from Avis on or about November 2, 2022.
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parked in the area. The male exited his vehicle and entered the passenger side of JONES’s

vehicle. After a short interaction, the male exited JONES’s vehicle, re-entered his vehicle and

left the area.

          31.    At approximately 2:55 pm, the UC contacted JONES, who directed the UC to

Chelsea Street. At approximately 3:10 pm, the UC parked on Chelsea Street and informed

JONES that he had arrived. JONES advised the UC that he would be at the spot in “5 minutes.”

At approximately 3:28pm, JONES arrived in the area in the Kia and parked in front of the UC

vehicle. The UC exited his vehicle and entered into the front passenger seat of the Kia.9

          32.    JONES advised the UC that he only had 15 “M’s” with him and would have to go

to his house to pick up more.10 JONES provided the 15 pills to the UC in exchange for $420.

The UC then told JONES he was looking for a new supplier of crack cocaine. JONES offered to

provide crack cocaine at a price of $30/gram for an ounce or more, and a “ball” – 3.5 grams of

cocaine – for $115.

          33.    During the post-buy meeting, the UC confirmed that he purchased 15 pills from

JONES on Chelsea Street. Examination of the 15 pills revealed that 14 were marked with “M”

and one pill was marked with “ALG 265”. Agents field-tested one of the 14 pills marked with

the “M” and the one pill marked with “ALG 265” and obtained positive results for the presence

of oxycodone.

          E.     January 4, 2023, Oxycodone Sale to the UC

          34.    On or about January 4, 2023, the UC contacted JONES at             -7120 and

arranged for the purchase of Oxycodone pills.


                                
9
    The meeting between the UC and JONES in the Kia was audio-recorded.
10
  The UC previously had advised JONES that he preferred the Oxycodone pills marked with an “M”
because they “sell faster.”
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          35.    On January 4, 2023, investigators provided the UC with $1,500 for the expected

purchase. At approximately 10:48 am, investigators observed a rented Toyota Camry11 enter the

driveway at 104 Ridge Street. At approximately 12:41 pm, the Camry –operated by JONES –

exited the driveway and left the area.

          36.    Agents maintained surveillance as JONES drove from Providence to 10 Whipple

Street in Worcester and parked in the driveway. An unidentified white male exited a gray Honda

Pilot12 and entered JONES’s vehicle. After a short period, the male exited JONES’s vehicle,

returned to Honda and departed. JONES also drove from the area.

          37.    The UC contacted JONES at               -7120 and advised that he was in

Worcester. JONES directed the UC to Fern Street, where the UC arrived at approximately 2:08

pm. JONES arrived approximately two minutes later and parked near the UC’s vehicle. The UC

exited his vehicle and entered the front passenger seat of JONES’s Camry.13

          38.    According to the UC, upon entering JONES’s vehicle, he observed JONES

receive two phone calls during which he appeared to set up drug sales in the area. After

completing those calls, JONES retrieved a plastic bag from his pocket that contained an

estimated 500 blue pills. The UC advised JONES that he had $1,500. JONES informed the UC

that he would sell him 50 pills. JONES counted out approximately 50 pills, placed the pills into

the second plastic bag, and then provided the second bag to the UC. The UC then asked JONES

about the possibility of buying a firearm. JONES advised the UC that he could get the UC a


                                
11
     The Toyota Camry is owned by Avis.
12
  The Honda Pilot was parked on Whipple Street prior to JONES’s arrival. I am aware of the license
plate number and registered female owner of the Pilot but have omitted that information for privacy
reasons.
13
 The UC carried a recording device; however, that device malfunctioned and no recording of the meeting
was obtained.
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firearm “Asap.” The UC told JONES he needed a couple days to get the money together. The

UC then exited JONES’s vehicle.

         39.    Agents met with the UC, who provided agents with the bag of pills that JONES

sold to him. A count of the pills revealed that the bag only contained 48 pills, each marked with

“M 30.” Agents field-tested two pills and obtained a positive result for the presence of

Oxycodone.

                              Travel to New Jersey and New York

         F.     February 8, 2023 Travel to Garfield, New Jersey

         40.    On three occasions between February 6, 2023 and March 6, 2023, the Court

issued orders authorizing agents to install GPS tracking devices on vehicles rented and used by

MELLO and JONES.14 The location data obtained from those GPS devices, coupled with

physical surveillance, revealed frequent travel to New Jersey and New York. Specifically,

according to data obtained from the GPS tracker:

         41.    On Wednesday, February 9, 2023, the 2022 Toyota Rav4 rented by MELLO

departed Ridge Street, Providence at approximately 10:34 pm and drove directly to Wood Street

in Garfield, New Jersey, arriving at 1:47am on February 10, 2023.15 After only approximately

44 minutes, the Rav4 drove directly back to Providence, arriving at approximately 5:51 am.

         42.    On February 18, 2023, the 2019 Chevrolet Equinox rented by MELLO departed

Ridge Street at approximately 4:56 am, and traveled to Wood Street in Garfield, New Jersey,

arriving at approximately 8:21 am. After approximately 65 minutes, the Equinox departed Wood

Street and returned directly to Providence, arriving at approximately 12:28 pm. At


                              
14
     See 23-SW-018 LDA, 23-SW-040 PAS, and 23-SW-68 PAS.
15
  According to Google maps, Wood Street, in Garfield, New Jersey is approximately 189 miles from
Ridge Street, in Providence.
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approximately 12:54 pm, the Equinox departed Providence and traveled to Worcester, and

proceeded to make frequent, short stops in the Park Avenue area. Agents did not conduct any

physical surveillance that day.

       43.     On February 21, 2023, the Equinox departed Ridge Street at approximately 5:15

am and arrived at Wood Street in Garfield, New Jersey at approximately 8:50 am. Agents

observed MELLO operating the vehicle with no other adults in the car. MELLO exited the

Equinox, removed an infant car seat from the back seat of the vehicle, and entered Wood

Street. After less than an hour, at approximately 9:46 am, MELLO exited Wood Street

carrying the infant car seat, returned to the Equinox, and drove from the area. At approximately

12:42 pm, agents observed the Equinox arrive and park at 104 Ridge Street. MELLO exited the

vehicle, retrieved the infant car seat and entered 104 Ridge Street. Just 17 minutes later, at

approximately 12:59 pm, the Equinox drove from 104 Ridge Street with JONES operating the

vehicle.

       44.     On February 25, 2023, the Equinox departed Ridge Street at approximately 5:38

am. At approximately 8:23 am, the Equinox arrived in Garfield, New Jersey and parked at the

intersection of Wood Street and Plauderville Avenue. An hour later, at approximately 9:22 am,

agents observed MELLO exit Wood Street carrying an infant car seat and walk to the Equinox.

MELLO drove from New Jersey to 104 Ridge Street, arriving at approximately 12:36 pm. At

approximately 1:00 pm, JONES left 104 Ridge Street in the Equinox and drove to Worcester,

where agents observed him engage in multiple brief encounters consistent with street level drug

dealing.

       45.     On March 6, 2023, the Court authorized installation of a GPS tracking device on

the Subject Vehicle, rented by MELLO from Avis Rental.
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       46.     On March 9, 2023, the Subject Vehicle departed Ridge Street at approximately

9:03 pm and drove to the area of 4100 East Tremont Avenue, Bronx, New York, arriving at

approximately 11:30 pm. At approximately 12:10 am, agents observed the Subject Vehicle

parked across East Tremont Street from Bridges Bar. At approximately 12:34 am, a gray Acura

MDX bearing New York registration KBZ8017 arrived at Bridges Bar. A male passenger exited

the Acura and entered the bar. Within two minutes, JONES (carrying no items) and the male

exited the bar and entered the waiting Acura. The Acura completed a U-turn, drove past the

parked Subject Vehicle, stopped, and then backed up to the area of the Subject Vehicle. JONES

exited the Acura carrying a small backpack and entered the Subject Vehicle. The Subject

Vehicle departed the area, arrived back in Providence at approximately 6:08 am (stopping at a

restaurant for two minutes) and returned to the Ridge Street area at approximately 6:19 am.

       47.     On Monday, March 13 at approximately 7:57 am, the GPS data obtained from the

Subject Vehicle indicated that the car was on Route I-95 heading southbound.

       48.     In my training and experience, the frequent early morning travel by MELLO

and/or JONES from Providence, Rhode Island to New Jersey or New York, with relatively brief

stops at that location, before returning to Providence, Rhode Island is consistent with the

acquisition of narcotics in New Jersey or New York with the intent to distribute those narcotics,

including in Worcester, Massachusetts.

       A.      Information Regarding the Subject Premises

       49.     104 Ridge Street is a three-level, multi-unit building, yellow in color with a red-

front entrance door. To the left of the door affixed to the building is the number “104” and what

appear to be five mailboxes. There is off-street space for parking in front of the building, as well

as a driveway that runs along the left side of the building. To the right of the building is a walkway
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that leads to a side entrance. Based on their investigation to date – including their observations on

November 22, 2022 (paragraph 27 above) – agents believe the Subject Premises can be accessed

through the side entrance.

       50.     According to Massachusetts Registry of Motor Vehicle (“RMV”) records, JONES

has an active Massachusetts driver’s license with a residential address of         Lakewood Street

Apartment     , Worcester, Massachusetts. However, the “primary contact address” listed in the

RMV records is 104 Ridge Street, Apt 2R, Providence, RI 02909, i.e. the Subject Premises.

       51.     MELLO maintains a Rhode Island driver’s license with a residential address and

primary contact address of 104 Ridge Street, Apt. 2R, Providence, RI 02909.

       52.     Further, on May 18, 2017, after a narcotics investigation focused on JONES and

MELLO, Rhode Island State Police executed a search warrant at the Subject Premises. Based on

the relevant State Police report, JONES and MELLO were taken into custody in Massachusetts as

part of the investigation and, therefore, were not present at the Subject Premises. Upon execution

of the warrant at the Subject Premises, investigators located a digital scale, drug packaging

material, paperwork in the name of JONES and MELLO, and a false wall with hidden

compartment in a bedroom closet.

B.     Information Regarding Those Involved in Drug Distribution

       53.     Based on my training and experience, and conversations with other law

enforcement officers who investigate narcotics offenses, I know the following:

               a. Drug distribution is a cash business, and drug dealers often transact in large
                  sums of money, and are in the possession of or have ready access to large
                  amounts of money;

               b. Because drugs are often bought and sold on credit, dealers frequently maintain
                  written or electronic records of the drugs bought and sold, the identities of the
                  persons who have purchased or sold the drugs, and the moneys due to, or
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                     owed, by them. In the case of electronic records, drug dealers commonly
                     maintain these records such as mobile phones;

                  c. Drug dealers often hide their distribution records, controlled substances, and
                     drug proceeds, on their person, in their residences, in the residences of persons
                     involved with them in the distribution of controlled substances, in their places
                     of business, in their vehicles, and in bank safe deposit boxes, safes, and other
                     secure storage areas to which they have access;

                  d. Drug dealers utilize various paraphernalia, such as scales, cutting agents
                     (diluents) and packaging materials such as plastic sandwich baggies, to
                     prepare and package these controlled substances for further distribution. Such
                     paraphernalia are often stored in close proximity to where the controlled
                     substances are stored, such as in the cars and residences of distributors, and on
                     their persons; and

                  e. Drug dealers often utilize “hides” in their vehicles, businesses, and
                     homes. These hides are built in such a way that they blend in with the car’s
                     original interior or exterior and can be opened manually or electronically by
                     manipulating several different electronic devices in the vehicle. Some are also
                     opened with the use of magnets. In the homes and businesses, the hides are
                     built into the floors, walls, and furniture.

                                   SEIZURE OF CELL PHONES

       54.        Based on my knowledge, training, and experience, I know that electronic data can

be recovered months or years after it has been created, downloaded, saved, deleted, or viewed over

the internet because:

             a.          Electronic files can be stored for years at little or no cost.

             b.        When a person “deletes” a file on a smartphone, the data contained in the
             file does not actually disappear; rather, that data remains until it is overwritten by
             new data, which might not occur for long periods of time. In addition, a smartphone's
             operating system may also keep a record of deleted data in a “swap” or “recovery”
             file.

             c.        Virtual memory paging systems can leave traces of information that show
             what tasks and processes were recently active. Web browsers, email programs, and
             chat programs store configuration information on the storage medium that can
             reveal information such as online nicknames and passwords.

       55.        Information stored on a smartphone provides crucial evidence of the “who, what,
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why, when, where, and how” of the criminal conduct under investigation. In my training and

experience, information stored on a smartphone (e.g., communications, images and movies,

transactional information, internet history, location information) can indicate who has used or

controlled the phone, or the physical location of other user.

       56.     Based on my knowledge and training and the experience of other agents with whom

I have spoken, I am aware that in order to completely and accurately retrieve data maintained in

mobile phones, including smartphones, to ensure the accuracy and completeness of such data, and

to prevent the loss of the data either from accidental or programmed destruction, it is often

necessary that the phones be seized and subsequently processed by a computer specialist in a

laboratory setting rather than in the location where it is seized. This is true because:

               a.      There can be a large volume of data. Additionally, a user may seek to
       conceal evidence by storing it in random order or with deceptive file names. Searching
       authorities may need to examine all the stored data to determine which particular files are
       evidence, fruits, or instrumentalities of criminal activity. This process can take weeks or
       months, depending on the volume of data stored, and it would be impractical to attempt
       this analysis on-site.

               b.     Analyzing mobile phone evidence is a highly technical process requiring
       expertise and a properly controlled environment. The array of computer hardware and
       software available requires even computer experts to specialize in some systems and
       applications. Thus, it is difficult to know, before the search, which expert possesses
       sufficient specialized skill to best analyze the system and its data. Furthermore, data
       analysis protocols are exacting procedures, designed to protect the integrity of the evidence
       and to recover even “hidden,” deleted, compressed, or encrypted files. Many commercial
       computer software programs also save data in unique formats that are not conducive to
       standard data searches.

       57.     Consequently, law enforcement agents request authorization to either copy the data

the premises to be searched or seize the telephone for later processing elsewhere.

       58.     The premises may contain mobile phones, including smartphones, whose use in the

crime(s) or storage of the things described in this warrant is impractical to determine at the scene.

Phones can be disguised, mislabeled, or used without the owner’s knowledge. In addition,
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technical, time, safety, or other constraints can prevent definitive determination of their ownership

at the premises during the execution of this warrant.

       59.      The law enforcement agents will endeavor to search and seize only the mobile

phones which, upon reasonable inspection and/or investigation conducted during the execution of

the search, reasonably appear to contain the evidence in the respective Attachments B because they

are associated with (that is used by or belong to) JONES and/or MELLO. If, however, the law

enforcement agents cannot make a determination as to use or ownership regarding any particular

mobile phone, the law enforcement agents will seize and search that mobile phone pursuant to the

probable cause established herein.

       60.     This warrant authorizes a review of electronic storage media seized, electronically

stored information, communications, other records and information seized, copied or disclosed

pursuant to this warrant in order to locate evidence, fruits, and instrumentalities described in this

warrant. The review of this electronic data may be conducted by any Government personnel

assisting in the investigation, who may include, in addition to law enforcement officers and agents,

attorneys for the Government, attorney support staff, and technical experts. Pursuant to this

warrant, the law enforcement agents may deliver a complete copy of the seized, copied, or

disclosed electronic data to the custody and control of attorneys for the Government and their

support staff for their independent review.

                UNLOCKING A DEVICE USING BIOMETRIC FEATURES

       61.     I know from my training and experience, as well as from information found in

publicly available materials, that some models of cellphones made by Apple and other

manufacturers, offer their users the ability to unlock a device via the use of a fingerprint or through

facial recognition, in lieu of a numeric or alphanumeric passcode or password.
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       62.     On the Apple devices that have this feature, the fingerprint unlocking feature is

called Touch ID. If a user enables Touch ID on a given Apple device, he or she can register up to

5 fingerprints that can be used to unlock that device. The user can then use any of the registered

fingerprints to unlock the device by pressing the relevant finger(s) to the device’s Touch ID sensor.

In some circumstances, a fingerprint cannot be used to unlock a device that has Touch ID enabled,

and a passcode must be used instead, such as: (1) when more than 48 hours has passed since the

last time the device was unlocked and (2) when the device has not been unlocked via Touch ID in

8 hours and the passcode or password has not been entered in the last 6 days. Thus, in the event

law enforcement encounters a locked Apple device, the opportunity to unlock the device via Touch

ID exists only for a short time. Touch ID also will not work to unlock the device if (1) the device

has been turned off or restarted; (2) the device has received a remote lock command; or (3) five

unsuccessful attempts to unlock the device via Touch ID are made.

       63.     The passcode that would unlock the Apple device(s) found during the search of the

Subject Premises, if any, is not currently known to law enforcement. Thus, it may be useful to

press the finger(s) of the user(s) of the Apple device(s) found during the search of the Subject

Premises to the device’s fingerprint sensor or to hold the device up to the face of the owner in an

attempt to unlock the device for the purpose of executing the search authorized by this warrant.

The Government may not otherwise be able to access the data contained on those devices for the

purpose of executing the search authorized by this warrant.

       64.     In my training and experience, the person who is in possession of a device or has

the device among his or her belongings at the time the device is found is likely a user of the device.

However, in my training and experience, that person may not be the only user of the device whose

fingerprints are among those that will unlock the device and it is also possible that the person in
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whose possession the device is found is not actually a user of that device at all. Furthermore, in

my training and experience, I know that in some cases it may not be possible to know with certainty

who is the user of a given device, such as if the device is found in a common area of a premises

without any identifying information on the exterior of the device. Thus, it may be necessary for

law enforcement to have the ability to require any occupant of the Subject Premises to press their

finger(s) against the sensor of the locked device(s) or place the devices in front of their faces in

order to attempt to identify the device’s user(s) and unlock the device(s).

       65.     For these reasons, I request that the Court authorize law enforcement to press the

fingers (including thumbs) of JONES and MELLO, and any other individuals found at the Subject

Premises to the sensor of the devices or place the devices in front of their faces for the purpose of

attempting to unlock the device in order to search the contents as authorized by this warrant.

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                                       CONCLUSION

     66.    Based on the information described above, I have probable cause to believe that:

            a.      JONES and MELLO have committed the Subject Offenses;

            b.      The Subject Premises, the Subject Vehicle and the persons of JONES and

     MELLO, and mobile phones, found in the Subject Premises, Subject Vehicle, or on

     JONES’s or MELLO’s person, that reasonably appear to law enforcement to belong to or

     be used by JONES’s or MELLO, as further set forth in Attachments A-1, A-2, A-3, and A-

     4, contain evidence, fruits, and instrumentalities of the Subject Offenses as set forth in the

     respective Attachments B.

     I declare that the foregoing is true and correct.



                                    I declare that the foregoing is true and correct,




                                    Scott D. Alicea-Bailey
                                    Task Force Officer
                                    Drug Enforcement Administration




                             7HOHSKRQH

                     March 13, 2023


           Providence RI
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                                       ATTACHMENT A-1

                 Apartment #2R, 104 Ridge Street, Providence, Rhode Island

       The Subject Premises is Apartment 2R, 104 Ridge Street, Providence, Rhode Island (the

“Subject Premises”). 104 Ridge Street is a three-level, multi-unit building, yellow in color with

a red-front entrance door. To the left of the door affixed to the building is the number “104” and

what appear to be five mailboxes. There is off-street space for parking in front of the building,

as well as a driveway that runs along the left side of the building. To the right of the building is

a walkway that leads to a side entrance.

       The Subject Premises is located on the second floor of the building, towards the rear of

the property. Photographs of 104 Ridge Street are included below:




       Front Entrance of 104 Ridge Street                Walkway to right and side entrance
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                                       ATTACHMENT B

  I.   All records, in whatever form, and tangible objects that constitute evidence, fruits, or
       instrumentalities of violations of 21 U.S.C. § 841(a)(1) (distribution of controlled
       substances) and 21 U.S.C. § 846 (conspiracy to distribute controlled substances),
       including:

          a. Controlled substances, including oxycodone and cocaine;

          b. Any material used to cut, dilute, or otherwise adulterate controlled substances.

          c. Items and objects utilized in the packaging or distribution of controlled
             substances, including bags, scales, and sealing devices or materials;

          d. Any and all cash, currency, and records (whether in documentary or electronic
             format) relating to the receipt, transfer, storage, or use of proceeds from the
             distribution of controlled substances or the expenses relating to acquisition or
             distribution of controlled substances, including ledgers, books, notes, and money
             orders;

          e. Any firearms or ammunition;

          f. Any and all communications (whether in documentary or electronic format) sent
             or received since that relate to the acquisition, storage, transportation, or
             distribution of any controlled substance, or that relate to the receipt, transfer,
             storage, or use of proceeds from narcotics distribution or the expenses relating to
             narcotics acquisition or distribution, and any and all records relating to or
             referencing such communications;

          g. Any and all records (whether in documentary or electronic format), books, logs,
             receipts, notes, ledgers, or data relating to the acquisition, storage, transportation,
             or distribution of any controlled substances;

 II.   Records and tangible objects relating to:

          a. the occupancy, control, or use of the residence located at 104 Ridge Street,
             Apartment 2R, Providence, Rhode Island

III.   Any cellular telephone(s) that are found in the possession of Brandon JONES or Adria
       MELLO, found among their personal items or that agents establish during the execution
       of the search warrants are used by JONES or MELLO and all names, words, telephone
       numbers, email addresses, time/date information, messages or other electronic data
       relating to or referencing drug trafficking and/or referencing individuals engaged in drug
       trafficking located in the memory of these cellular telephone(s), including but not limited
       to:
                                                                                                 1
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        a. Names and contact information that have been programmed into the device(s)
           (including but not limited to contacts lists) of individuals who may be engaged in
           drug trafficking;

        b. Logs of calls (including last numbers dialed, last calls received, time of calls,
           missed calls, and duration of calls) both to and from the device(s);

        c. Text messages both sent to and received by the device(s) (including any in draft
           form) relating to or referencing drug trafficking and/or referencing individuals
           engaged in drug trafficking;

        d. Incoming and outgoing voice mail messages both to and from the device(s)
           relating to or referencing drug trafficking or individuals engaged in drug
           trafficking;

        e. GPS data;

        f. Browser messages and/or internet communications (e.g., e-mail, text messages)
           both to and from the device(s) (including any in draft form) relating to or
           referencing drug trafficking or individuals engaged in drug trafficking;

        g. Documents, photographs, or videos in any format, including but not limited to
           Microsoft Word or Adobe PDF files, relating to or referencing drug trafficking or
           individuals engaged in drug trafficking;

        h. All data within the device(s) evidencing ownership, possession, custody, control,
           or use of the device(s); and

        i. Service Provider handset unlock password(s) and any other passwords used to
           access the electronic data described above.




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                            APPLE TOUCH ID AND BIOMETRICS

       During the execution of the search of the cellular telephones, law enforcement personnel

are authorized to press the fingers (including thumbs) of JONES or MELLO to the Touch ID

sensor of the iPhone OR hold the devices in front of the faces of JONES or MELLO for the

purpose of attempting to unlock the device(s) via Touch ID / Face ID in order to search the

contents as authorized by this warrant.


                      RETURN OF SEIZED COMPUTER EQUIPMENT

       If the owner of the seized cellular telephones requests that it be returned, the government

will attempt to do so, under the terms set forth below. If, after inspecting the seized cellular

telephones, the government determines that some or all of this equipment does not contain

contraband or the passwords, account information, or personally-identifying information of

victims, and the original is no longer necessary to retrieve and preserve as evidence, fruits or

instrumentalities of a crime, the equipment will be returned within a reasonable time, if the party

seeking return will stipulate to a forensic copy’s authenticity (but not necessarily relevancy or

admissibility) for evidentiary purposes.

       If cellular telephones cannot be returned, agents will make available to the cellular

telephones’ owner, within a reasonable time period after the execution of the warrant, copies of

files that do not contain or constitute contraband; passwords, account information, or personally-

identifying information of victims; or the fruits or instrumentalities of crime.

       For purposes of authentication at trial, the Government is authorized to retain a digital

copy of all cellular telephones seized pursuant to this warrant for as long as is necessary for

authentication purposes.




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